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                       UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Kathleen Uradnik,                         Court File No. 18-cv-1895 (PAM/LIB)

                     Plaintiff,

vs.                                       ORDER TO STAY PROCEEDINGS
                                          PENDING APPEAL AND EXTEND
Inter Faculty Organization, St.           TIME TO RESPOND
Cloud State University, and Board
of Trustees of the Minnesota State
Colleges and Universities,

                     Defendants.


       Upon consideration of the parties’ Stipulation to Stay Proceedings Pending Appeal

and Extend Time to Respond [Docket No. 46], IT IS HEREBY ORDERED that the

present case shall be STAYED through the pendency of Plaintiff’s interlocutory appeal

of the denial of her motion for a preliminary injunction. Further, for those Defendants

who have not yet responded to the Complaint, their deadline to file an answer or other

responsive pleading shall be extended until a decision is rendered on the Plaintiff’s

interlocutory appeal. Answers or other responsive pleadings to the Complaint, shall be

filed up to and including the date twenty-one (21) days after the Eighth Circuit Court of

Appeals issues its decision of Plaintiff’s interlocutory appeal of the denial of her motion

for a preliminary injunction

DATED:      October 17, 2018                      s/Leo I. Brisbois
                                                  Leo I. Brisbois
                                                  U.S. MAGISTRATE JUDGE
